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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §     CRIMINAL NO. H-11-165
                                                 §
                                                 §
DENNIS HANNAH JR.                                §
NATHANIEL GORDON III                             §

                                            ORDER

       The court held a status conference on October 31, 2011. Defendant Hannah orally moved

for a continuance of all deadlines. The government and the codefendant are unopposed. The court

finds that the interests of justice are served by granting this continuance and that those interests

outweigh the interests of the public and the defendants in a speedy trial. The motion for continuance

is GRANTED. The docket control order is amended as follows:


       Interim Pretrial Conference is set for:         December 2, 2011, at 9:00 a.m.
       Pretrial conference is reset to:                February 13, 2012 at 9:00 a.m.
       Jury trial and selection are reset to:          February 21, 2012 at 9:00 a.m.


               SIGNED on November 17, 2011, at Houston, Texas.

                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
